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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE EX PARTE APPLICATION OF                     Misc. Action No. 1:19-MC-00467
TIBERIUS GROUP AG FOR AN ORDER
TO OBTAIN DISCOVERY FOR USE IN A                   NOTICE OF MOTION TO QUASH
FOREIGN PROCEEDING


                                                   ORAL ARGUMENT REQUESTED



        PLEASE TAKE NOTICE that upon the declaration of Murtala Ahmad Laushi dated

November 18, 2019, the declaration of Patrick Ikwueto dated November 18, 2019, the

declaration of Michael S. Cryan dated November 18, 2019 (“Cryan Decl.”), the exhibits annexed

thereto, the Subpoenas annexed as Exhibit 1 to the Cryan Decl., the accompanying memorandum

of law, and the prior proceedings had herein, the undersigned counsel for Malcomines Ltd.,

Malcomines GmbH, S&M Pan African Mines & Logistics Ltd., Michel Babic, Murtala Laushi,

and Malcomines Minor Metals Ltd. (collectively, the “Objectors”) will and hereby does move

this Court, the Honorable Vernon Broderick, for an order pursuant to 28 U.S.C. § 1782, Fed. R.

Civ. P. 45(d)(2)(B), (d)(3)(A)(iii), (d)(3)(A)(iv), and (d)(3)(B)(i), Fed. R. Civ. P. 26 (b)(2)(C)(i),

(b)(2)(C)(ii), (b)(2)(C)(iii), and (c)(1) quashing the Subpoenas, or modifying the Subpoenas, or

granting a protective order, and for such other, further and different relief as the Court deems

just.

        The bases for this motion are that the Subpoenas are an improper attempt to circumvent

foreign proof-gathering restrictions, and constitute unduly intrusive demands for broad

commercial and financial information, in violation of 28 U.S.C. § 1782. The Subpoenas should

be quashed or modified to prevent the disclosure of confidential trade secret commercial

information and to protect nonparties. In the alternative, good cause exists for a protective order
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to protect the Objectors from annoyance, embarrassment, oppression, or undue burden or

expense, including forbidding the disclosure or discovery; specifying terms for the disclosure or

discovery; prescribing a discovery method other than the one selected by the party seeking

discovery; forbidding inquiry into certain matters, or limiting the scope of disclosure or

discovery to certain matters; and requiring that trade secret or other confidential commercial

information not be revealed.

 Dated: New York, New York                           ARENT FOX LLP
        November 18, 2019



                                                     By:
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